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                            UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15

16
        FEDERAL TRADE COMMISSION,                Case No. 8:24-cv-02684-FWS-
17                                               ADS
              Plaintiff,
18
                                                 Judge: Fred W. Slaughter
19            v.
                                                  RESPONSE OF PLAINTIFF
20
        SOUTHERN GLAZER’S WINE AND                FEDERAL TRADE
21      SPIRITS, LLC,                             COMMISSION TO
                                                  DEFENDANT’S
22
              Defendant.                          APPLICATION TO
23                                                PERMANENTLY SEAL
24
                                                  PORTIONS OF THE
                                                  COMPLAINT
25

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      RESPONSE OF PLAINTIFF FEDERAL TRADE COMMISSION TO DEFENDANT’S
      APPLICATION TO PERMANENTLY SEAL PORTIONS OF THE COMPLAINT
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1           Plaintiff Federal Trade Commission (“FTC”) respectfully submits this response to
2     Defendant Southern Glazer’s Wine and Spirits, LLC’s (“Southern”) Application to
3     Permanently Seal Portions of the Complaint (“Application”) (Dkt. 40).
4           Southern seeks to permanently seal portions of more than 150 lines of the FTC’s
5     Complaint (Dkt. 41-1), which alleges that Southern has violated the Robinson-Patman
6     Act by selling wine and spirits to small, independent retailers at discriminatory prices that
7     are drastically higher than the prices Southern charges large chain retailers. While the
8     FTC does not take a position on the majority of Southern’s proposed redactions, this
9     response addresses three categories of designated material for which Southern has failed
10    to establish compelling reasons that outweigh the strong presumption of public access:
11    (a) the percentage price premia Southern charged disfavored independent retailers relative
12    to prices charged to favored chain retailers for the same products (“price premia
13    percentages”) and the percentage of independent retailers in a state that paid such premia
14    (“disfavored retailer percentages”); (b) general statements by Southern employees about
15    Southern’s discriminatory pricing practices; and (c) references to the numbers of items
16    and stock keeping units (“SKUs”) that Southern distributes.
17          I.     Legal Standard
18           “Historically, courts have recognized a ‘general right to inspect and copy public
19    records and documents, including judicial records and documents.’” Kamakana v. City &
20    Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner
21    Commc’ns, Inc., 435 U.S. 589, 597 & n. 7 (1978)). Accordingly, when considering a
22    sealing request, a “‘strong presumption in favor of access’ is the starting point.” Id.
23    (quoting Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)).
24    This presumption is “especially great” where “the material to be sealed goes to the very
25    heart of the suit” and is “critical to establishing [the plaintiff’s] claims.” Tevra Brands
26    LLC v. Bayer Healthcare LLC, 2020 U.S. Dist. LEXIS 46075, at *6-7 (N.D. Cal. Mar.
27    16, 2020); Soundgarden v. UMG Recordings, Inc., 2021 U.S. Dist. LEXIS 268922, at *10
28    RESPONSE OF PLAINTIFF FEDERAL TRADE COMMISSION TO DEFENDANT’S
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1     (C.D. Cal. Mar. 29, 2021). Thus, within the Ninth Circuit, a party seeking to seal all or
2     portions of a complaint “bears the burden of overcoming this strong presumption by
3     meeting the ‘compelling reasons’ standard.” Ctr. for Auto Safety v. Chrysler Grp., LLC,
4     809 F.3d 1092, 1096 (9th Cir. 2016) (quotations omitted); see also FTC v. Dave, Inc.,
5     2024 U.S. Dist. LEXIS 221497, at *3-*4 (C.D. Cal. Dec. 5, 2024); Soundgarden, 2021
6     U.S. Dist. LEXIS 268922, at *11-*12.
7           Under this stringent standard, the designating party must “articulate compelling
8     reasons supported by specific factual findings,” rather than “hypothesis or conjecture,”
9     that outweigh “the public policies favoring disclosure . . ..” See Kamakana, 447 F.3d at
10    1178-79 (quotations omitted). The simple fact that disclosure “may lead to a litigant’s
11    embarrassment, incrimination, or exposure to further litigation will not, without more,
12    compel the court to seal its records.” Id. at 1179. And while harm to a litigant’s
13    competitive standing resulting from the disclosure of confidential business information
14    can constitute a “compelling reason,” an “unsupported assertion of unfair advantage to
15    competitors without explaining how a competitor would use the information to obtain an
16    unfair advantage is insufficient.” Soundgarden, 2021 U.S. Dist. LEXIS 268922, at *9
17    (quotations omitted). The compelling reasons standard is unlikely to be met where the
18    designated material is presented “at a reasonably high level of generality.” See Tevra
19    Brands, 2020 U.S. Dist. LEXIS 46075, at *8; see also Polaris Innovations, Ltd. v.
20    Kingston Tech. Co., 2017 U.S. Dist. LEXIS 77142, at *23-*25 (C.D. Cal. Mar. 30, 2017).
21    II.   Southern Fails to Satisfy the Compelling Reason Standard for Sealing Certain
22          Complaint Allegations
23          As detailed below, Southern’s purported justifications for keeping Complaint
24    allegations related to (a) the price premia percentages and the proportion of independent
25    retailers that paid those premia, and (b) general statements by Southern employees about
26    Southern’s discriminatory pricing practices, do not overcome the heightened presumption
27    of disclosure under the “compelling reason” standard. Additionally, Southern has not
28    RESPONSE OF PLAINTIFF FEDERAL TRADE COMMISSION TO DEFENDANT’S
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1     articulated compelling reasons for maintaining under seal (c) references to the numbers
2     of items and SKUs that Southern distributes. Accordingly, Southern’s Application should
3     be denied with respect to these portions of the Complaint.
4           A. Price Premia Percentages and Disfavored Retailer Percentages. The FTC
5     opposes Southern’s request to permanently seal portions of the Complaint disclosing the
6     percentage price premia Southern charged disfavored retailers and the percentage of
7     independent retailers in a given state that paid those premia. See Appl. at pp. 7, 10-11.
8     Importantly, the alleged price premia percentages do not disclose any actual price charged
9     by Southern for any product; rather, they simply represent the relative price differential
10    or magnitude of the higher prices paid by disfavored independent retailers compared to
11    favored chain retailers for the same product (e.g., disfavored retailers paid X% more than
12    favored retailers). See Compl. at ¶¶ 3, 56, 58-61, 63-64, 75.
13          As a threshold matter, the FTC’s Complaint represents the “operative pleading in
14    the case” and—more than any other filing on the docket—“is essential to the public’s
15    understanding of the suit.” Tevra Brands, 2020 U.S. Dist. LEXIS 46075, at *7 (quotations
16    omitted); see also McCrary v. Elations Co., LLC, 2014 U.S. Dist. LEXIS 8443, at *18
17    (C.D. Cal. Jan. 13, 2014) (“While a complaint is not, per se, dispositive, ‘it is the root, the
18    foundation, the basis by which a suit arises and must be disposed of’” and therefore “‘must
19    clearly meet the ‘compelling reasons’ standard and not the ‘good cause’ standard.’”)
20    (quoting In re NVIDIA Corp. Derivative Litig., 2008 U.S. Dist. LEXIS 120077, at *3
21    (N.D. Cal. Apr. 23, 2008)). Moreover, the particular Complaint allegations concerning
22    price premia percentages and the percentage of independent retailers charged those
23    premia that Southern seeks to seal go to the very heart of the unlawful price discrimination
24    claims asserted by the FTC in this action. See Compl. at ¶ 8 (“Section 2(a) of the
25    Robinson-Patman Act . . . make[s] it illegal for sellers to reduce competition by charging
26    higher prices to disfavored customers . . ..”); see also 15 U.S.C. § 13(a) (“It shall be
27    unlawful for any person engaged in commerce . . . to discriminate in price between
28    RESPONSE OF PLAINTIFF FEDERAL TRADE COMMISSION TO DEFENDANT’S
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1     different purchasers . . ..”); FTC v. Morton Salt Co., 334 U.S. 37, 45 (1948) (“[T]he
2     Commission need only prove that a seller had charged one purchaser a higher price for
3     like goods than he had charged one or more of the purchaser’s competitors”). Notably,
4     the significant range and enormous magnitude of these price premia also provide
5     important context to explain why the discriminatorily higher prices Southern charged
6     disfavored independent retailers are not cost justified, a statutory defense likely to be
7     asserted by Southern. See Appl. at p. 4. Similarly, the percentages of independent retailers
8     that paid those significant price premia demonstrate that Southern’s illegal price
9     discrimination is pervasive and represents more than mere “cherry picked pricing
10    examples” or isolated incidents. See id.
11          In Tevra Brands, the district court rejected a similar request to seal complaint
12    allegations describing “the allegedly anticompetitive practices [plaintiff] challenge[d],”
13    which included descriptions of large differences in prices offered to retailers. Tevra
14    Brands, 2020 U.S. Dist. LEXIS 46075, at *7. Here, like in Tevra Brands, without access
15    to these core Complaint allegations, “the public cannot meaningfully comprehend the
16    subject matter of the suit, let alone its merits.” Id.; see also Polaris Innovations, 2017 U.S.
17    Dist. LEXIS 77142, at *27-*28 (“That balancing would tilt toward disclosure because the
18    information is the core of [defendant’s] antitrust claims . . . and is therefore essential to
19    enable the public to understand these proceedings.”); Avocados Plus Inc. v. Freska
20    Produce Int’l LLC, 2019 U.S. Dist. LEXIS 238290, at *4-*5 (C.D. Cal. Oct. 8, 2019).
21          Against this backdrop, Southern has failed to articulate any compelling reason to
22    permanently seal the designated portions of the Complaint concerning price premia
23    percentages and disadvantaged retailer percentages that overcomes this significant public
24    interest. Neither the Application nor the accompanying Declaration of John Wittig (Dkt.
25    41, “Wittig Declaration”) explain with any specificity how the publication of price premia
26    percentages alone (i.e., without disclosure of any actual price tied to any specific product)
27    or disadvantaged retailer percentages (without disclosure of any specific customer name)
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1     could be used by competitors to gain an advantage or could otherwise lead to competitive
2     harm. See, e.g., Tevra Brands, 2020 U.S. Dist. LEXIS 46075, at *7-*8 (distinguishing
3     between general allegations related to pricing differentials and contract terms that are less
4     likely to meet the compelling reasons standard and product- or customer- specific pricing
5     terms that “pose a greater risk of competitive harm.”); Dave, 2024 U.S. Dist. LEXIS
6     221497, at *7-*8.
7           Southern’s Application instead lumps the price premia percentages into its broader
8     request to seal actual and specific product price information, without addressing the price
9     premia percentages directly. E.g., Appl. at pp. 7, 10-11. The Wittig Declaration likewise
10    does not explain how the publication of price premia percentages could lead to
11    competitive harm; indeed, the price premia percentages alone lack the very level of
12    granularity that the Wittig Declaration suggests would cause such harm. See Wittig Decl.
13    at ¶¶ 9-13.1 Such “blanket claims that ‘their competitive standing[s] could be significantly
14    harmed’ by disclosure are not only conclusory and vague” but also improperly generalize
15    across fundamentally different types of information sought to be sealed. See Tevra
16    Brands, 2020 U.S. Dist. LEXIS 46075, at *7; see also Dave, 2024 U.S. Dist. LEXIS
17    221497, at *9 (denying request to seal material based on “vague and conclusory assertions
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        The price premia percentages alone lack the level of granularity involved in many of
      the cases cited by Southern. See, e.g., In re Elec. Arts, Inc., 298 F. App’x 568, 569 (9th
23
      Cir. 2008) (specific pricing terms, royalty rates, and guaranteed minimum payment
24    terms); Southwest Carpenters Pension Trust v. Paramount Scaffold, Inc., 2018 WL
      6016134, at *1 (C.D. Cal. Jan. 12, 2018) (amount billed and collected for specific
25
      customers); Roadrunner Intermodal Services, LLC v. T.G.S. Transportation, Inc., 2018
26    WL 432654, at *2-3 (E.D. Cal. Jan. 16, 2018) (revenue and pricing attributed to specific
      customers); TVIIM, LLC v. McAfee, Inc., 2015 WL 4448022, at *3 (N.D. Cal. July 19,
27
      2015) (product-specific financial information including profit margins and sales prices).
28    RESPONSE OF PLAINTIFF FEDERAL TRADE COMMISSION TO DEFENDANT’S
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1     about competitive advantage” which “fail to identify any specific facts pertaining to the
2     actual information at issue here.”). 2
3           Accordingly, Southern’s Application should be denied with regard to the following
4     portions of the Complaint concerning price premia percentages and disfavored retailer
5     percentages:
6
            Table 1: Price Premia Percentages and Disfavored Retailer Percentages
7
          Page 1, portions of line 20
8
          Page 15, portions of lines 4, 6, 27 (numbers immediately preceding % symbols)
9
          Page 16, portions of lines 2, 3, 12, 14, 24, 26, 27 (same)
10
          Page 17, portions of lines 12, 14, 15 (same)
11
          Page 18, portions of lines 1, 3, 4 (same) and 12-16 (numbers under “Percent
12        Difference” header)
13        Page 20, portions of line 24
14          B. General Statements by Southern Employees About Pricing Practices. Southern
15    also cannot satisfy the compelling reasons standard to permanently seal seven passages
16    in the Complaint that reflect general, high-level statements by Southern employees about
17    Southern’s discriminatory pricing practices, including Southern’s rationale for
18    implementing certain pricing practices and the intended consequences of such practices.
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        Southern also cites to Nicolosi Distrib., Inc. v. Finishmaster, Inc., 2018 WL 10758114
      (N.D. Cal. Aug. 28, 2018) for the proposition that courts “can and do seal information”
21
      of the sort contemplated by the Application in price discrimination cases. But the
22    deposition excerpts and three specific customer contracts filed under seal by the
      defendant in Nicolosi in the context of a motion to dismiss were much more detailed
23
      than the designated material challenged in this response and included actual prices and
24    exact contract terms tied to specific customers. Id. at *2-3. In contrast, the operative
      complaint in Nicolosi was not redacted and publicly disclosed the discount percentage
25
      rates and value of monetary upfront payments paid to favored retailers that were
26    challenged as unlawful price discrimination under the Robinson-Patman Act. See First
      Am. Compl. at ¶¶ 79-85, 101, Case No. 18-cv-03587-BLF, Dkt. No. 50 (N.D. Cal. Nov.
27
      19, 2018).
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1     E.g., Appl. at p. 7 (citing Compl. at p. 1, lines 25-28; p. 2, lines 1-3 and 7-9). First, like
2     the price premia percentages, this material relates directly to the underlying price
3     discrimination claims asserted in the Complaint. In addition, these statements provide
4     important context for how and why Southern allegedly resorts to unlawful discriminatory
5     pricing practices. Thus, the presumption in favor of public access is especially great. See,
6     e.g., Polaris Innovations, 2017 U.S. Dist. LEXIS 77142, at *25-*28; Ehret v. Uber Techs.,
7     Inc., 2015 U.S. Dist. LEXIS 161896, at *4-*5 (N.D. Cal. Dec. 2, 2015) (requiring emails
8     “relevant to the merits of the case” to be unredacted under both the “compelling reasons”
9     and more lenient “good cause” standards).
10          Second, the designated materials reflect generalized statements about Southern’s
11    pricing practices that are devoid of any specific pricing details or other product or
12    customer specific information. See, e.g., Compl. at ¶¶ 4-5. Courts routinely reject sealing
13    for such general statements. See, e.g., Polaris Innovations, 2017 U.S. Dist. LEXIS 77142,
14    at *25 (“The broad strokes of defendant’s business strategy . . . are not remotely akin to
15    trade secrets . . ..”); Dave, 2024 U.S. Dist. LEXIS 221497, at *8 (“Fraser testifies that
16    Dave uses a ‘complex algorithm’ to determine whether and how much credit to offer
17    customers . . .. Fraser does not sufficiently explain how the redacted portions [of the
18    complaint] reveal the confidential ‘inputs, parameters, and outputs’ of Dave’s
19    algorithm.”); U.S. v. Adobe, Inc., 2024 U.S. Dist. LEXIS 130076, at *4 (N.D. Cal. July
20    23, 2024) (compelling reasons standard not met for general statement devoid of any
21    specific profit, cost, pricing, trade secret, product-specific, or other information).
22          Third, against this framework, neither the Application nor the Wittig Declaration
23    provides compelling reasons to justify sealing the designated references to Defendant’s
24    generalized pricing discussions. The Application asserts that the designated material
25    “describe[s] SGWS’s confidential business and pricing strategies,” see Appl. at p. 7
26    (Compl. at p.1, lines 25-28) and “describe[s] confidential information involving pricing
27    and business strategy, including reasons for and structures of deals,” see Appl. at p. 7
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1     (Compl. at p.2, lines 1-3). However, the Application does not explain how the disclosure
2     of such material—not tied to specific product, pricing, or customer information—would
3     cause Southern competitive harm. See, e.g., Dave, 2024 U.S. Dist. LEXIS 221497, at *8;
4     In re Apple Inc. Device Performance Litig., 2019 U.S. Dist. LEXIS 68121, at *20-*25
5     (N.D. Cal. Apr. 22, 2019) (denying request to seal generalized allegations regarding
6     defendant’s conduct and general factual allegations underlying claims).
7           The Wittig Declaration similarly fails to articulate any concrete facts explaining
8     how the general statements by Southern employee’s about Southern’s pricing practices,
9     without any connection to specific products, prices, or customers, could be used by a rival
10    to gain a competitive advantage. Indeed, the designated materials include general
11    statements by Southern employees showing that Southern utilizes a pricing structure
12    described in the Wittig Declaration as “generally known” in the market. See Appl. at pp.
13    7 (Compl. at p. 2, lines 7-9), 9 (Compl. at p. 13, lines 17-19), 11 (Compl. at p. 19, lines
14    2-3); Wittig Decl. at ¶ 10. The Wittig Declaration claims that competitive harm could
15    result from customers or competitors understanding how the pricing structure is
16    implemented, yet the designated material does not contain such level of detail; it only
17    identifies that Southern utilizes the “generally known” practice. See Dunbar v. Google,
18    Inc., 2012 U.S. Dist. LEXIS 177058, at *71 (N.D. Cal. Dec. 12, 2012) (disclosure of
19    “mere fact” that defendant took specific action did not compel redaction where
20    “mechanisms” for taking such action were not available to competitors).
21          Accordingly, the Application should be denied with regard to the following
22    portions of the Complaint reflecting general statements by Southern employees about
23    pricing practices:
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28    RESPONSE OF PLAINTIFF FEDERAL TRADE COMMISSION TO DEFENDANT’S
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1             Table 2: General Statements by Southern Employees About Pricing
                                          Practices
2
          Page 1, portions of lines 25-28
3
          Page 2, portions of lines 1-3, and 7-9
4
          Page 13, portions of lines 17-22
5
          Page 18, portions of line 28
6
          Page 19, portions of lines 1-3
7

8           C. Numbers of Items and SKUs. Finally, Southern asks the Court to permanently
9     seal references in the Complaint to the numbers of items and SKUs that Southern
10    distributes. In one instance, the designated material merely references the total number of
11    items that Southern distributes throughout the U.S. See Compl. at ¶ 14. In other instances,
12    the Complaint allegations identify the number of items sold in specific states. See Compl.
13    at ¶¶ 21 (identifying the number of different items sold to off-premise retail customers in
14    California), 26 (identifying the number of vodka products distributed by Southern in
15    Texas and Washington and the number of suppliers of those products). Courts routinely
16    hold that compelling reasons do not exist to seal this type of information. See, e.g.,
17    Iglesias v. For Life Prods., LLC, 2024 U.S. Dist. LEXIS 162845, at *15 (N.D. Cal. Sept.
18    10, 2024) (denying motion to redact rough estimates of number of units sold); Apple, Inc.
19    v. Samsung Elecs. Co., 2012 U.S. Dist. LEXIS 176248, at *21 (N.D. Cal. Dec. 10, 2012)
20    (“[Defendant] has provided no explanation for how the total number of sales it has made
21    in recent months could possibly cause Samsung competitive harm.”) (emphasis in
22    original).
23          Neither the Application nor the Wittig Declaration provides “compelling reasons
24    supported by factual findings” for permanently sealing this basic commercial information.
25    See Kamakana, 447 F.3d at 1178-79. The Application merely states that the designated
26    materials “describe the number of items and stock keeping units (“SKUs”) that SGWS
27    distributes,” Appl. at p. 7 (Compl. at p. 4, portions of line 26), “describe confidential
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1     financial information regarding SGWS’s sales quantities and revenue information,” Appl.
2     at p. 7 (Compl. at p. 6, portions of lines 4-5), and “describe confidential information
3     regarding the quantities of different products sold by SGWS and number of suppliers in
4     different states,” Appl. at p. 8 (Compl. at p. 7, portions of lines 17-18). While the Wittig
5     Declaration explains that information regarding the quantities of sales is confidential, it
6     does not provide a factual explanation of how disclosure of the mere number of products
7     distributed by Southern would lead to competitive harm. See Wittig Decl. at ¶¶ 6-9.
8     Southern’s request is especially puzzling given that the identity of products and SKUs
9     that Southern distributes is publicly available to all on Southern’s internet platform, Proof,
10    which can easily be sorted by state and product category using the platform’s filtering
11    function.3
12          Accordingly, the Application should be denied for failure to satisfy the compelling
13    reasons standard with respect to the following portions of the Complaint concerning the
14    number of items and SKUs sold by Southern:
15
                               Table 3: Numbers of Items and SKUs
16
          Page 4, portions of line 26
17
          Page 6, portions of line 4
18
          Page 7, portions of lines 17-18
19

20          For the foregoing reasons, the FTC respectfully requests that the Court deny
21    Defendant’s Application as to the proposed redactions identified above in Tables 1-3.
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      3
       See Southern Glazer’s Wine and Spirits, LLC, Proof, https://shop.sgproof.com/ (last
27
      visited Jan. 15, 2025).
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28    RESPONSE OF PLAINTIFF FEDERAL TRADE COMMISSION TO DEFENDANT’S
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1                                 CERTIFICATE OF SERVICE
2           I certify that on January 15, 2025, a copy of the foregoing RESPONSE OF
3     PLAINTIFF FEDERAL TRADE COMMISSION TO DEFENDANT’S APPLICATION
4     TO PERMANENTLY SEAL PORTIONS OF THE COMPLAINT was served
5     electronically through the court’s electronic filing system upon all parties appearing on
6     the court’s ECF service list.
7     Dated: January 15, 2025                /s/ Daniel M. Chozick
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